            Case 4:11-cr-00031-JLK                Document 150 Filed 09/11/12                   Page 1ek
                                                                                                       of 7 : oFvk
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                                                             1630                                                  ATI
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                                                                                                                       NVILIkh,VA
  AO 2458    (Rtv.9/lt-VAW Addititms6/
                                     05)JudgmtntitaCfimi
                                                       na.
                                                         lCase                                                          j
                                                                                                                        m   j.
                                                                                                                             jj
              Sheet1


                                            ITED STATES DISTRICT COURT                                        auu . n cu
                                                 W estern D istrictofV irginia                               BY:
                                                                                                                    E .& LEFP
         UNITED STATESOFAMERICA                                     JUDGM ENT IN A CRIM INAL CASE
                                                                    Case N um ber: D VAW 4I1CR000031-003
      IBRAHIM KONTE                                                 Case N um ber:
                                                                    USM N um ber: 16217-084
                                                                   M elvin L.H ill
                                                                    Det-endant'sAttorney
TH E D EFEN DA N T:
I
KIpleadedguiltytocountts) 1,2,& 3 ofthe Inform ation
Z pleadednolocontenderetocountts)
   which wasaccepted by the court.
Z wasfoundguiltyoncountts)
   aftera plea ofnotguilty,

Thedefendantisadjudicated guilty oftheseoffenses:
  Title & Section             Nature ofO ffense                                                    Offense Ended              Count
l8U.S.C.j371           Conspiracy tocommitcreditcard fraud                                             7/6/11

l8U.S.C.j 1029(a) Counterfeitaccessdevicefraud                                                                                    2
(l)
l8U.S.C.j 1028A(a) Aggravated identifytheft                                                                                       3
(1)
       Thedefendantissentencedasprovidedinpages2through                  7        ofthisjudgment.Thesentenceisimposedpursuantto
the Sentencing Reform Actof1934.
Z Thedefendanthasbeenfoundnotguiltyoncountts)
Z Countts)                                  U1 is Z aredismissedonthemotionoftheUnitedStates.
        Itisorderedthatthe
                      11fi defendyntm ustnotify theUnited Statesattom ey forthisdiltrictw ithin30daysofqnychangeofnam e,residepce
o
hrmail
     in
t edef
     engan
       dadt
          dmu
           ress
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                 no
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                   tlaythn
                    if   ee
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                                                                                                        c sald.lforderedtopayrestitutlon,
                                                                                                         .


                                                                   9/10/12
                                                                   DateofImpositionofJudgment
                                                                                                                       /

                                                                   Signatur ofJudgc



                                                                   Jackson L.Kiser,SeniorUnited StatesDistrictJudge
                                                                  Name and TitleofJudge


                                                                         11
                                                                  Date
            Case 4:11-cr-00031-JLK                  Document 150 Filed 09/11/12                 Page 2 of 7       Pageid#:
                                                               1631
AO 2458     (Rev.9/11-VAW Additions6/05)JudgmentinCriminalCase
            Sheet2-Imprisomnent
                                                                                                  Judgment-Page   2    of    7
DEFEN DA N T: IBRAHIM KONTE
CA SE N UM BER: DVAW 4I1CR000031-003

                                                              IM Pm SO NM EN T

       The defendantishereby comm itled to thecustody ofthe United StatesBureau ofPrisonsto be imprisoned fora
totalterm of:
   44 m onths,consisting of20 m onths on Counts 1and 2,to be served concurrently,and a term of24 monthson Count3 tonm
   consecutiveto any othersentencewith creditgiven fortim e served while in state custody.



    1
    71 ThecourtmakesthefollowingrecolnmendationstotheBureauofPrisons:




    X ThedefendantisremandedtothecustodyoftheUnitedStatesMarshal.
    I
    - I Thedefendantshallsurrenderto theUnited StatesMarshalforthisdistrict:
        N     at                                   (3 a.
                                                       m . I-I p.m .
        N     asnotifiedbytheUnited StatesMarshal.
    1
    -1 Thedefendantshallsurrenderforserviceofsentenceattheinstitution designatedbytheBureauofPrisons:
        1
        -1 before               on
       UR asnotified bytheUnited StatesMarshal.
       U7 asnotitiedbytheProbation orPretrialServicesOffice.


                                                                     RE TU R N
Ihaveexecutedthisjudgmentasfollows:




       Defendantdeliveredon                   -.                 -                   to

a                                                   ,   withacertifiedcopyofthisjudgment.


                                                                                               IJNITED STAIE!MARSHAL

                                                                         By
                                                                                            DEPUTY UNITED STATESMARSHAL
          Case 4:11-cr-00031-JLK                 Document 150 Filed 09/11/12                Page 3 of 7         Pageid#:
                                                            1632

AO 2458    (Rev.9/11-VAW Additions6/05)JudgmentinaCriminalCase
           Sheet3- SupervisedRelease
                                                                                               Judgment- page    3    of        7
DEFENDANT: IBRAHIM KONTE
CASE NUM BER:DVAW 4IlCR000031-003
                                                   SUPERV ISED R ELEA SE
Upon releasefrom im prisonment,thedefendantshallbeonsupervisedreleaseforaterm of:
 3years(3yearsoneachofCounts1& 2andlyearon Count3tonm concurrently).

          Thedefendantmuslreportto theprobationofficeinthedistricttowhichthedefendantisreleasedwithin 72 hoursofreleasefrom the
custody ofthe Bureau ofPrlsons.
Thedefendantshallnotcomm itanotherfederal,stateorIocalcrim e,
ThedefendantshallnotunlawfullyppssessacontrolledspbjtancesThedefendantshallrefqain from anyunlawfuluseofaqontrolled
substance. The defepdantshallsubm ltto one drug testwlthln 15 daysofrelease from imprlsonm entand atleasttwo periodlcdrug tests
thereafter,asdeterm ined by the court.
K    Theabovednlgtesting condition issuspended,basedonthecourt'sdetenninationthatthedefendantposesalow riskof
     futuresubstanceabuse.(Check,l
                                 fapplicable.
                                            )
K    Thedefendantshallnotpossessafirearm,ammunition,destructivedevice,orany otherdangerousweapon.(Check,tfappltcable.
                                                                                                                    )
K    ThedefendantshallcooperateinthecollectionofDNA asdirectedbytheprobationofficer. (Check,fapplicable.
                                                                                                       )
     Thedefendantshallcomply withthereqB uirementsottheSexOffenderRegistrationandNotificationAct(42U.S.C.j16901,qtseq.j
                                             -
     asdirectedbytheprobatlon offiger,the ureapofPrlsons oranystatesexoffenderregistrationagency in whichheorsheresldes,
     works,isastudent,orwasconvlctedofaquallfyingoffenle. (check,tfapplicable)
     Thedefendantshallparticipatein anapprovedprogram fordomesticviolence.(Check,fapplicable.
                                                                                            )
        lfthisjudgmentimposejafineorrestitution,itisaconditionofsupervisedreleasethatthedefendantpay inaccordancewiththe
ScheduleofPaymentssheetofthlsjudgment.
          Thedefendantmustcomplyw iththestandard conditionsthathavebeen adopted by thiscourtaswellasw ithany additionalconditions
on the attached page.
                                   STANDARD CONDITIO NS O F SUPERVISIO N
     thedefendantshallnotleavethejudicialdistrictwithoutthepennissionofthecourtorprobationofficer;
  2) thedefendantshallreporttotbeprobation officerin amannerandfrequency directedbytbecourtorprobation ofhcer;
      thedefendantshallansw ertruthfully a1linquiriesby theprobationofficerandfollow theinstructionsoftheprobationofficer;
  4) thedefendantshallsupporthisorherdependentsandmeetotherfamilyresponsibilities;
      thedefendantshallworkregularly ataIawfuloccupation,unlessexcusedbytheprobation officerforschooling,training,orother
      acceptable reasons',
      thedefendantshallnotify theprobation officeratleasttendayspriortoanychangeinresidenceoremploym ent'         ,

      t
      che
       ondef
          trolenda
              ledsntshallrefrain from excessiyeuseofalcoholandshallnotpurchas , possess,use,dj
                  ubstance orany paraphernallarelated to any controlled substances,eexce           stribute,oradministerany
                                                                                        ptasprescrlbed by a physlcian;
      the defendantshallnotfrequentplaceswhere controlled substancesare illegally sold, used,distributed,oradm inistered;
      thedefendantshallnotassoçiatewithanypersonsenaaged incriminalactivity andshallnotassociatewithanypersonconvicted ofa
      felony,unlessgranted perm lssion to do so'by theprobatlon ofticer;
      thedefendantshallpelmitqprqbationoffcertoyisithim orheratanytimeathomeorelsewhereandshallperm itcontiscationofany
      contraband observed ln plaln vlew ofthe probatlon officer;
 1l) thedefendantshallnotify theprobationofficerwithinseventy-twohoursofbeingarrestedorquestioned by aIaw enforcementofficer;
 12) thedsfepdantshallnotenterintoany agreementtoactasan informeroraspecialagentofaIaw enforcementagencywithoutthe
      permlsslon ofthecourt;and
      asdirected by the prpbation ofticer,thç defendantshallnotify third partiesofrisksthatmay beoccalioned by the defendant'scrim inal
      reec
      d   ordoryersonalhlstory prcharacterlsticsand shallpermittheprobationofficertomakesuchnotlficationsandtoconfirm the
         fendantscom pliance wlth such notltication requirem ent.
           Case 4:11-cr-00031-JLK              Document 150 Filed 09/11/12                   Page 4 of 7         Pageid#:
                                                          1633
 AO 2458    (Rev.9/11-VAW Addi
                             tions6/05)JudgmentinaCrimi
                                                      nalCasc
            Sheet342-SupervisedRelemse
                                                                                                Judgm ent-page    4     of       7
 D EFEN DAN T: IBRAHIM KON TE
 CA SE N UM BER :D VAW 4I1CR00003l-003

                                     SPE C IA L C O N D ITIO N S O F SU PER V ISIO N
1.Upon release from im prisonm ent,the defendantshallbe delivered to an authorized im m igration offcialfordeportation proceedingsand
shallremain outside oftheUnited States
2.Thcdefendantsballprovide theprobation officerwith accessto any requested financialinformation.

3. The defendantshallnotincurnew creditchargesoropen additionalIinesofcreditw ithoutthe approvalofthe probation officer.
4.The defendantshallresidein a residencefree offirearm s,am munition,destm ctive devicesand dangerousw eapons.

5. The defendantshallsubm itto w arrantlesssearch and seizureofperson and property asdirected by theprobation ofticer,to determine
whetherthe defendantisin possession offirearms orfraudulentfinancialdevicesordocum ents.
          Case 4:11-cr-00031-JLK                 Document 150 Filed 09/11/12                 Page 5 of 7           Pageid#:
                                                            1634
AO 2458   (Rev.9/1l-VAW Additi
                             ons6/05)JudgmentinaCrit
                                                   ninatCase
          Sheet5-CriminalM onetaryPenalties
                                                                                         Judgm ent-Page        5      of       7
DEFEN DA N T: IBRAHIM KON TE
C ASE N U M BER: DVAW 4IlCR000031-003
                                         CRIM INAL M O NETARY PENALTIES
     The defendantmustpay thetotalcriminalm onetary penaltiesunderthe schedule ofpaymentson Sheet6.

                    Assessm ent                                   Fine                           Re:titution
 TOTALS          $ 300.00                                     $                               $ 18,307.61


    Thedeterminationofrestitutionisdeferreduntil               .AnAmendedludgmentinaCriminalCase(AO 245C)willbeentered
     aftersuch determ ination.

l
X 1 Thedefendantmustmakerestitution(includingcommunity restitution)tothefollowingpayeesintheamountlistedbelow.
     lfthedefendantm akesapartialpayment,eachpayeeshallreceiveanapproxilnatelyproportionedpayment,unlessspecifiedotherw ise
     inthepriorityorderorpercentagepaymentcolumnbelow.However,pursuantto ISU.S.C j3664(1),allnonfederalvictimsmustbe
     paid before theUnited Statesispaid.
 Nam e ofPavee                                       TotalLoss*              Restitution O rdered              Prioritv or Percentaee
AmericanExpressCompany                                       $1,943.26                          $1,943.26
BankofAmericaTlA Card Senices                                $1,730.32                          $1,730.32
CapitalOneBank (USA)NA                                         $954.
                                                                   92                            $954.92
ChaseBank                                                    $2,570.12                          $2,570.12
Citibankr itigroupInvestigativeServices                        5536.
                                                                   46                            $536.46
DiscoverFinancialServices                                    $8,321.77                          $8,321.77
HuntingtonNationalBank                                       $1,576.23                          $l,576.23
USAA FederalSavingsBank                                        $674.53                           $674.53




TO TALS                                                     $18,307.61                         $18,307.61

     Restitutionamountordered pursuanttopleaagreement$
r-l Thedefendantmustpay interestonrestitution andafineofmorethan $2,500,unlessthe restitution ortlne ispaid in fullbefore the
     Gfteenthdayafterthedateofthejudgment,pursuantto1sU.S.  C.j3612(9.AIlofthepaymentoptionsonSheet6maybesubject
     topenaltiesfordelinquencyanddefault,pursuantto l8U.S.C.j3612(g).
(Z Thecourtdeterminedthatthedefendantdoesnothavetheabilitytopayinterestanditisorderedthat:
   I
   X theinterestrequirementiswaivedforthe I  Z fine rvlrestitution.
     (-7 theinterestrequirementforthe         1
                                              -7 tine F-l restitution ismodifiedasfollows:


*Findingsforthe totalam ountoflosses are required underChapters 109A , 1l0,119A,and 1l3A ofTitle l8 foroffensescomm itted on
orafterSeptem ber l3,1994,butbeforeAprill3,1996.
              Case 4:11-cr-00031-JLK            Document 150 Filed 09/11/12                    Page 6 of 7       Pageid#:
                                                           1635
AO 2458    (Rev,9/11-VAW Additions6/05)JudgmentinaCriminalCase
           Sheet6 -ScheduleofPaym ents
                                                                                                Judgment-Page     6     of      7
 DEFEN DAN T: IBRAHIM KON TE
 CASE N UM BER:DVAW 4I1CR000031-003
                                                SC H ED U LE O F PA Y M EN TS
 Having assessed the defendant'sability to pay,the totalcriminalmonetary penaltiesaredue im m ediately and payableas follows:

 A X Lumpsum paymentof$300.00                           immediately,balancepayable
      ID notlaterthan                         ,or
      K inaccordance       (Zlc, IZID, Z E, K yor, Z G below);or
 B ID Paymenttobeginimmediately(maybecombinedwith Clc, CID, Q F,or Z Gbelow);or
      r-l Paymentinequal monthly          (e.g.,weekly,monthly,quarterly)installmentsof$ 50.00          overaperiod of
                     (e.g,,monthsoryears),tocommence 60days (e.         g.,30or60days)aAerthedateofthisjudgment;or
 D Z Paymentinequal                           (e.g.,weekly,monthly,quarterly)installmentsof$                    overaperiodof
                         (e.g.,monthsoryears),tocommence         -         (e.
                                                                             g.,30or60days)aherreleasefrom imprisonmenttoa
           term ofsupervision'
                             ,or
 E r-I Paymentduringtheterm ofsupervisedreleasewillcommencewithin                           (e.
                                                                                              g.,30or60 days)afterreleasefrom
           im prisonment.Thecourtw illsetthepaym entplanbasedonanassessm entofthedefendant'sability to payatthattime'
                                                                                                                    ,or
      X Duringtheterm ofimprisonment,paymentinequal monthly (e.g.,weekly,monthly,quarterly)installmentsof
          $
          ,      25.00       ,or 50
                                 -  % ofthedefendant'sincome,whicheverisgreater,tocommence 60 days (e.g.a30or
                                     -

          60days)afterthedateofthisjudgment;AND paymentinequal monthly (e.g.,weekly,monthly,quarterly)
          installmentsof$      100.00       duringtheterm ofsupervisedrelease,to commence       60 days     (e.g.
                                                                                                                ,30or60days)
          aherreîease from imprisonm ent.
G     r-l Specialinstructionsregardingthepaymentofcriminalmonetarypenalties:



Any installm entscheduleshallnotprecludeenforcem entoftherestitutionorfineorderbytbeUnited Statesunder18U.S.C jj3613and
3664(m),
Anfyinstallmentsctteduleissubjscttoadjtlstmentbythecourtatanytimeduringtheperiodof imprisonmentprsupervision,andthe
de endantshallnotlfy the probatlon officerand the U.S.Attorney ofany change in the defendant'seconom ic clrcum stancesthatm ay affectthe
defendant'sability to pay.
Al
d  lcriminalmonetarypenaltiesshallbemadepayabletotheClerk,U.S.DistrictCourt,P.O.Box1234,Roanoke,Virginia24006,for
 lsbursement.
ThedefendantshallreceivecreditforalIpaymentspreviousl
                                                    y m adetoward any criminalmoneta!y penaltiesimposed.
K JointandSeveral
     DefendantandCo-DefendantNamesandCaseNumbers(includingdefendantnumber),TotalAmount,JointandSevcralAmount,
     and corresponding payee:ifappropriate.
4:1lCRO0026-lLouisSoumah                                             $18,307.61                $18.307.61
4:tlCR00927-lSekou Fofana                                            $18,,387.61               515,307.6l
4:llCR00029-lM oryKeita                                              $18,307.61                $18,307.61
I-I Thedefendantshallpay thecostofprosecution.
f-l Thedefendantshailpaythcfoilowing courtcostts);
r-I Thedefendantshallforfeitthedefendant'
                                        sinterestinthefollowingpropertytotheUnitedStates:



 Paymentsshallbeappliedinthefollowing orderz(1)assessment,(2)restitutionprincipal,(3)restitutioninterest,(4)fineprincipal,
 (5)fineinterest,(6)community restitution,(7)penalties,and(8)costs,includingcostofprosecutionand courtcosts.
          Case 4:11-cr-00031-JLK             Document 150 Filed 09/11/12             Page 7 of 7         Pageid#:
                                                        1636
AO 2458   (Rev.9/l1-VAW Additions6/05)JudgmentinaCrimi
                                                     nalCase
          Sheet6A -ScheduleofPayments
DEFENDANT : IBRAHIM KON TE                                                             Judgment-page 7       of 7
CASE NUM BER:DVAW 4I1CR000031-003

      A DD ITIO N A L D EFEN D A N T S A N D C O -DE FEN D A N T S H EL D JO IN T A N D SEV ER AL
Case Num ber
Defendantand Co-DefendantNam es                                             Jointand Several       Corresponding Payee,
(includine defendantnum ber)                            TotalAm ount            Am ount               ifappropriate

4:11CR00031-2 M oham ed Fofana                                 $18,307.61            $18,307.61
